AO 91 (Rev. I Iii I) Crimilllll Complaint ··                                                                                  .FILED
                                     .• UNITED STATES 'DISTRICT COURT                                                        JUN 1 7 2020
                                                                     for the
                                                                                                                      PETER A. MOORE JR .·   CLERK
                                                    Eastern District of North Carolina                                 US DISfJl!:.Rf, EDNC
                                                                                                                    BY   c               DEPCLK

                    United Siates of Ainerica                           )
                                   ..v.                                 )
                                                                        )
                      Richard RUBALCAVA
                                                                        )
                                                                        )
                                                                        )
                                                                        )
                              Defo11dcml(s)

                                                     CRIMINAL COMPLAINT·
            I; the complainant in this case, state that the foilowing is true to the best ofmy knowledge and belief.
Ort or about the date(s) of                       May 30, 2020 .               in the county   of ..            Wake.                 in the
     . Eastern             District of         North Carolina       , the defendant(s) violated:
           Code Section                                                           Offense Description .
 18 u.s.c. § 844 (i)                                 Maliciously damages or destroys; or attempts tci damage or destroy, by
                                                   . means of fire ·or an explosive, any buUding, vehicle; or other real cir personal · ·
                                                     property used In Interstate or foreign commerce or in any attivify affecting
                                                     interstate or foreign commerce, . .




            This criminal complairtt 1S basi:d Ori tltese facts:
 See attached affidavit, incorporated herein by reference. ·




            Fl Continued on the attache~ sheet.



 Onthisday,           ChA:J               u~JJ ..
 appeared before me via reliable electroriic means, was
                                                                                               Chad Edmonds; Special Agent
                                                                                                   · Prti1(ed 11a"1q ai,d title .
 placed under oath, and attested.to the contents ofthis
 C~minal Complaint.

 ·oate: (      1 J'l'IUlt.                 2,;0)-0 ·                            --,.--~~·-·~-
  City and state:         --~-.c___R_aleigh •.~._c~._____                           Jame~ E. Gates, United States McK.1lstrate Judge
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         DWS
                       Case 5:20-mj-01642-JG Document 1 Filed 06/17/20 Page 1 of 4
                      . IN THE UNITED STATES DISTRICT COURT
                  · FOR THE EASTERN DISTRICT OF NORTH CAJlOLINA
                                                                                                               \

                                      .Probable Cause Affidavit

. I, Chad Edmunds, hereinafter designated as affiant, having been duly sworn according to law,
  depose and state that: ·                                 · ·

      l. Affiant is a Senior Special Agent/Certified Fire Investigator (SSA/QFI) with the Bureau of
           Alcohol, Tobacco, Fireanns, and Explosives ("ATF'') and have been so·empioyed since
           October 2007.· . Affiant .is cuITently assigned to the Raleigh, North Carolina Field Office,
        ·. Charlotte Field Division. This affiant has received extensive training at the ATF National
           Academy in the.. investigation of firearms,· arson, explosives offenses and alcohol. and
           tobacco diversion. I have als~ received advanced training in arson investigat_ions nom the
         ·National. Fire Academy, International Association ·of Arson Investigators. and Oklahoma
           State University~ This affiant is also a member of ~e ATF Na~ional Response Team (NRT);
           which responds to fire and explosives incidents nationwide.

      2. This afliant has participated, in multiple arson investigations that have 1~ .to successful
          federal prosecutions. Previously, this affiant w~s employed_ 11S aLieutenant with the Apex
          Fire Department in the State ofNorth Carolina for 1 year; ·Prior to serving.as a Lieutenant
         ·with the Apex Fire Deparunent, the affiant was a police offi~~r with the Raleigh Police
          OeplU'lment in the State of North Carolina for six y~ars

      3. As a result of your afliant's training and experience as an ATF Senior Special
         Agent/Certified Fire Investigator, your affiant is famiiiar with federal criminal laWs; and has
         participated in the investigations of criminal violations of federal law, iricludiilg; but not
         limited to, Title 18 United States Code Sections 844(f).                              .
                      .                                 .                             .
      4. .1 ltlake this affid~vit in support of an application for
                                                               the issuance of a criminal complaint
         · against Richard RUBALCAVA (hereinafter·" RUBALCAVA ") for the following violation:
                                                                     .   ''                     '    .
                          ·(Two Counts) Title 1.8 U  :s.o~§ 844(i)- Whoever maliciously dam~ges or
                           destroys, or attempts to d~age or destroy,,by means offire or an explosive,
                           any building; vehicle, or other real oi- personal property used iri interstate or
                           foreign commerce or in ariy activity affecting interstate .or foteagn
                           commerce .

   . -~- Infoimation contained within this ~ffidavit is based upon information from this Affiant's ·
         invesiigation, personal observations, training and experience, as well as information
         relayed to this Affiant byother law ~nfo~ement officers and or agents. I ani nt>tincluding
         every fact of the investigation, but only the necessary infonnatiori needed to obtain
         probable cause that RUBALCAVA violated Title 18 U.S.C. § 844(i) (Two Counts)




DWS

           Case 5:20-mj-01642-JG Document 1 Filed 06/17/20 Page 2 of 4
                                    FACTS IN SUPPORT OF PROBABLE CAUSE

      6. Ori May 30, 2020, a protes_t took place in downtown Raleigh, North C:arolina. As the
         protest prc,gressed, multiple participants started breaking into and looting multiple
         businesses in the downtown area~
                                .         .                                              .               .

 . 7. The Dc,llar General Expres~ located at 149 .East Davie Street, Raleigh, NC 27601 was one
      of the businesses that was broken intl'l and looted.. At approximately 2313 hcn1rs the ~eigh
      Fire Department was dispatched to the Dollar· Gerieral Express for a co1111nercial structure
      fire'. Wheri they arrived they discovered heavy smoke in the business.     .           .               .
                        .   .                     .                          .       .                                    .
                                      .       .                                                      '                .
      8. The clistri\,utfon center for this store is located in Scn1th Boston, Virginia. A majority of the
         stores merchandise travels from South Boston, Virginia to llaleigh, North Carolina;
                                                      .                                      .


      9.. Video surveillance was obtained                     from
                                              tile Dollar General Express. The vid~ shows
          R.UBALCAVA enter the business at approximately 2219 hours and place·numerous items
          in a Dollar General Bag. RUBALCAVA leaves and re-enters the business numerous times.
          Each tim~ RUBALCAVA entered the business, he would steal items from.the store.

      10~ At approximately 2301 hours, video surveillance captured RUBALCAVA inside the Dollar
         ·General Express setting fire to miscellaneous items located on aisle endcap. RUBALCAVA
          appears to exit the store after setdng ,the fire.                       .       .
            .   .                                         .                                      .

      1LThe fire progresses for approximately four minutes before the spriµkl_er system activates;

      12. RUQALCAVA was positively jdentified by Rllleigh Police Oflicer Howard of the
          l)owntown District as the subject setting the fire iµ the Donar General Express. Officer
          Howard stated _that he has bad previous encounters with RUBALACAVA .and he seen                            is
          almost daily in the Fayetteville Street and Moore Square area of downtown Raleigh. ·
                    .           .                                                                                .



      13. On May 31, 2020, Officer Winkle ofthe Raleigh I>olice Dep~ent was ori foot patroi in
      . the 100 block of East Martin Street . Mr. Khoa Dinh, the owner of Budacai Restaurant . ·
          located ar 120 East Martin Street, Ral~igh, NC advised Officer Winkle that he has video of
          his restaurant being broken into on May 30; 2020. .                .     .
                                          .                          .
      :14. After reviewing the vide()surveillance; Officer Winkle identified one of the subjects that
           entered the business as RUBALCAVA.-: Officer Winkle is familiar with RUBALCAVA
           from previous encounters to include one that occurred just prior to speaking with Mr. Dinh.
           RUBALCAVA entered the restaurant three times .. The second time RUBALCAVA enters,
           he steals the cash. register. . the third time RUBALCAVA enters, h!= attempts to· ¢atch a ·
           plant on fire just inside the .restauran.t. After the plant would not ignite, RUBALCAVA
           ignites a towel and places the burning towei on acountertop locatedbehind:the cash register.
           The towet burns itself out without growing in size.             ·



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DWS

           Case 5:20-mj-01642-JG Document 1 Filed 06/17/20 Page 3 of 4
      15. An employee of Budacai stated that the business orders supplies such as cups from.China
          and Vietnam which affects interstate commerce. .Budacai buys their food froin Concepts
          foods. Concept Foods stated that a majority of ail food they deliver to Budacai originates
          outside the state of North Carollna.    ·

      16. RUBALCAV'A is wearing the same clothing and hat in both incidents.

      17. Raleigh Police Officer Howardinterviewed lUJBALCAVA in regards to the fire at Budacai
        · Restaurant. RUBALCAVA.admits in the interview that he set the fire so two subjects would
         .
          leave him alone. and run away, but stated ''it didn't
               .              '          .                  .   tum
                                                                 .'
                                                                    out right".

      1.8. Based on the foregoing investigation, probable caus_e exists to believe that Richard_
           RlJBALCAVA, did violate Federal law including Title 18, United State Code S~tion
           844(i) (two counts) and I respectfully request that a complaint warrant be issued for
           Richard RUBALCAVA 's arrest.



                                        ~;>-« /
                                        Senior Special Agent/Certified Fire Investigator
                                        Bureau of Alcohol, Tobacco; Fireanns, and Explosives

On this 11._ day of June 2020, Chad Edmunds appeared before me via reliable :electronic
means, was placed llnder oath, and attested to the contents of this affidavit.




                                                    3



DWS

             Case 5:20-mj-01642-JG Document 1 Filed 06/17/20 Page 4 of 4
